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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

UNITED STATES OF AMERICA,
           Plaintiff,                   CIVIL ACTION
      v.                                NO. 1:11-CR-239-31-CAP-ECS
VICTOR MANUEL ANGUIAN-
GUTIERREZ,
a/k/a/ Brujo,
a/k/a Juan Castinanda,
           Defendant.

                               O R D E R

     This matter is currently before the court on the May 9, 2012,

Report and Recommendation of the Magistrate Judge (“the R&R”) [Doc.

No. 620]. After carefully considering the R&R and the objections

thereto [Doc. No. 634], the court receives the R&R with approval

and ADOPTS it as the opinion and order of this court.

     SO ORDERED, this    1st   day of     August       , 2012.



                                  /s/Charles A. Pannell, Jr.
                                  CHARLES A. PANNELL, JR.
                                  United States District Judge
